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11
                                UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                       OAKLAND DIVISION
14
   THE APPLE IPOD ITUNES ANTITRUST                ) Lead Case No. C-05-00037-YGR
15 LITIGATION                                     )
                                                  ) CLASS ACTION
16                                                )
   This Document Relates To:                      ) PLAINTIFFS’ ADMINISTRATIVE
17                                                ) MOTION TO SEAL PORTIONS OF A
           ALL ACTIONS.                           ) DOCUMENT RELATING TO PLAINTIFFS’
18                                                ) OPPOSITION TO DEFENDANT APPLE’S
                                                    MOTIONS IN LIMINE NOS. 1-3 AND TO
19                                                  EXCLUDE AND STRIKE EVIDENCE

20                                            Date:         October 29, 2014
                                              Time:         9:30 a.m.
21                                            Courtroom:    1, 4th Floor
                                              Judge:        Hon. Yvonne Gonzalez Rogers
22
                                              Trial Date:   November 17, 2014
23                                            Time:         8:30 a.m.
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           1         Melanie Wilson (formerly Tucker) and Mariana Rosen (collectively, “Plaintiffs”)

           2 respectfully submit this Administrative Motion for leave to file under seal Portions of Plaintiffs’

           3 Opposition to Defendant Apple’s Motions in Limine Nos. 1-3 and to Exclude and Strike Evidence

           4 (“Opposition”). Plaintiffs bring this motion pursuant to Civil Local Rules 7-11 and 79-5, the June

           5 13, 2007 Stipulated Protective Regarding Confidential Information (“Protective Order”) and after

           6 having met and conferred with Apple.

           7         On October 7, 2014, Apple filed its Motions in Limine Nos. 1-3 and to Exclude and Strike

           8 Evidence. The Opposition refers to the Declaration of Dr. John P.J. Kelly in Support of Defendant’s

           9 Renewed Motion for Summary Judgment, dated January 18, 2011 and the Expert Report of Dr. John

       10 P.J. Kelly, dated July 19, 2013. Apple has asserted a confidentiality interest in these documents,

       11 stating that public disclosure of the documents would risk exposing current Apple business secrets.

       12 Plaintiffs understand that Apple’s confidentiality concerns are laid out in the Declaration of David C.

       13 Kiernan in Apple’s last motion to seal. ECF No. 819-1. Accepting Apple’s representations that part

       14 of the technology referred to in Dr. Kelly’s Declarations are currently in use and could reveal

       15 sensitive business information about Apple, Plaintiffs and Apple have agreed to a set of redactions

       16 to address those concerns while being mindful of the public’s strong interest that Court proceedings

       17 are a part of the public record. See Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

       18 (9th Cir. 2006). The redacted version of these documents are attached to the Opposition and filed

       19 with this motion.

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976976_1       PLTFS’ ADMIN MTS PORTIONS OF A DOC RE PLTFS’ OPPO TO DEFENDANT APPLE’S
               MOTIONS IN LIMINE NOS. 1-3 AND TO EXCLUDE AND STRIKE EVIDENCE - C-05-00037-YGR                 -1-
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           1          Consistent with Rule 79-5(e), within four days of the filing of Plaintiffs’ Administrative

           2 Motion to File Under Seal, the designating party must file with the Court and serve declarations

           3 supporting the request to seal the protected material and must lodge and serve a narrowly tailored

           4 proposed sealing order, or the information at issue will be made part of the public record.

           5 DATED: October 14, 2014                         Respectfully submitted,

           6                                                 ROBBINS GELLER RUDMAN
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               MOTIONS IN LIMINE NOS. 1-3 AND TO EXCLUDE AND STRIKE EVIDENCE - C-05-00037-YGR                -2-
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976976_1       PLTFS’ ADMIN MTS PORTIONS OF A DOC RE PLTFS’ OPPO TO DEFENDANT APPLE’S
               MOTIONS IN LIMINE NOS. 1-3 AND TO EXCLUDE AND STRIKE EVIDENCE - C-05-00037-YGR   -3-
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           1                                    CERTIFICATE OF SERVICE

           2          I hereby certify that on October 14, 2014, I authorized the electronic filing of the foregoing

           3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

           4 the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

           5 caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

           6 CM/ECF participants indicated on the attached Manual Notice List.

           7          I certify under penalty of perjury under the laws of the United States of America that the

           8 foregoing is true and correct. Executed on October 14, 2014.

           9                                                      s/ Bonny E. Sweeney
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Mailing Information for a Case 4:05-cv-00037-YGR The Apple iPod iTunes
Anti-Trust Litigation
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Manual Notice List

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create notices or labels for these recipients.
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